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                         6 Attorneys for Plaintiff HOME DEPOT U.S.A., INC.
                         7
                         8                       IN THE UNITED STATES DISTRICT COURT

                         9                          CENTRAL DISTRICT OF CALIFORNIA

                        10
                        11 HOME DEPOT, U.S.A., INC.                       Case No. 2:18-cv-3051
                        12                                  Plaintiff,    COMPLAINT FOR
                        13 vs.                                            1. Declaratory Relief
                                                                          2. Breach of Contract
                        14 TWIN CITY FIRE INSURANCE                       3. Bad Faith
                           COMPANY, NATIONAL UNION
                        15 FIRE INSURANCE COMPANY OF                      JURY TRIAL DEMANDED
                           PITTSBURGH, PA and DOES 1-20
                        16
                                                Defendants.
                        17
                        18                                           PARTIES
                        19         1.     Plaintiff HOME DEPOT U.S.A., INC. (hereinafter collectively “Home
                        20 Depot”) alleges as follows:
                        21         2.     Home Depot is a Delaware corporation, and has its principal place of
                        22 business in Atlanta, Georgia. Home Depot is a national retailer operating stores
                        23 throughout the United States, including in California.
                        24         3.     Plaintiff is informed and believes and on that basis alleges that Defendant
                        25 TWIN CITY FIRE INSURANCE COMPANY (hereinafter “Hartford”) is in the business
 Goodman
  Neuman                26 of selling insurance, and conducts this business in all 50 States of the United States of
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                        27 America, including in California and at all relevant times did business in California.
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                        28 Plaintiff is informed and believes and on that basis alleges that Hartford is an Indiana

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                         1 Corporation with its principal place of business in Indianapolis, Indiana.
                         2         4.     Plaintiff is informed and believes and on that basis alleges that Defendant
                         3 NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA
                         4 (hereinafter “AIG”) is in the business of selling insurance, and conducts this business in
                         5 all 50 States of the United States of America, including in California and at all relevant
                         6 times did business in California. Plaintiff is informed and believes and on that basis
                         7 alleges that AIG is a Pennsylvania Corporation with its principal place of business in
                         8 New York, New York.
                         9         5.     Home Depot alleges that the true names and capacities of defendants named
                        10 herein as DOES 1 through 20 are unknown to Home Depot, who therefore sues these
                        11 defendants by these fictitious names. Home Depot will seek leave to amend this
                        12 Complaint to show the defendants’ true names and capacities when these have been
                        13 ascertained. Home Depot is informed and believes, and thereon alleges, that DOES 1
                        14 through 20 are, and at all relevant times were, authorized to do and doing insurance
                        15 business in the State of California. Home Depot is informed and believes and on that
                        16 basis alleges that DOES 1 through 20 are in some manner legally responsible to Home
                        17 Depot for the claims and liabilities alleged in this Complaint.
                        18                               JURISDICTION AND VENUE
                        19         6.     This Court has diversity jurisdiction over this matter pursuant to 28
                        20 U.S.C. § 1332(a)(1) because the Plaintiff is a Delaware Corporation with its principal
                        21 place of business in Atlanta, Georgia, the Defendants are Indiana and Pennsylvania
                        22 corporations with their principal places of business in Indianapolis, Indiana and New
                        23 York, New York, and the amount in controversy exceeds $75,000.
                        24         7.     This Court has personal jurisdiction over Defendants because the acts
                        25 which form the basis of this action occurred in California, namely the injury and
 Goodman
  Neuman                26 lawsuit for which coverage was sought took place in Riverside County, California.
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                        27         8.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b)(3) as this
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                        28 Court has personal jurisdiction over Defendants.

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                         1                                GENERAL ALLEGATIONS
                         2         9.     On or about November 4, 2015, Cheyenne Angle (hereinafter “Angle”)
                         3 filed an action in the Superior Court of California, County of Riverside, Action No.
                         4 RIC1513159 (hereinafter “Angle Lawsuit”). In the Angle Lawsuit, Angle alleged, among
                         5 other things, that he was injured on or about November 11, 2013 by a Victor Electronic
                         6 Rat Trap, Model m240 (hereinafter “Victor Rat Trap”) while examining it in a Home
                         7 Depot store located in Corona, California. The Angle Lawsuit set forth causes of action
                         8 for General Negligence and Products Liability.
                         9         10.    On or about April 13, 2017, during the course of the Angle Lawsuit,
                        10 Angle’s expert, Dr. Michael Morse, testified that the Victor Rat Trap was defectively
                        11 designed and that the defects in its design caused or contributed to Angle being injured
                        12 by the Victor Rat Trap.
                        13         11.    The Victor Rat Trap was manufactured and distributed to Home Depot by
                        14 Woodstream Corporation (hereinafter “Woodstream”). Woodstream’s products,
                        15 including the Victor Rat Trap, were distributed to and sold by Home Depot pursuant to a
                        16 Supplier Buying Agreement (hereinafter “SBA”) entered into between Woodstream and
                        17 Home Depot. Provisions of the SBA obligated Woodstream to have Home Depot named
                        18 as an additional insured on its commercial general liability insurance policies and also to
                        19 defend and indemnify Home Depot with respect to claims such as the Angle Lawsuit.
                        20         12.    Woodstream was insured through a policy of primary insurance issued by
                        21 Defendant Hartford, policy number 13CESOA0368, with a policy period of 09/01/2013
                        22 to 09/01/20 and with coverage limits of $1M per occurrence and $2M general aggregate
                        23 (hereinafter the “Hartford Policy”). A Certificate of Insurance issued on October 16, 2013
                        24 reflected that Home Depot was an additional insured under the Hartford Policy and
                        25 specifically that “Home Depot USA, Inc., its affiliates and subsidiaries are named
 Goodman
  Neuman                26 additional insured with respects to the General Liability under broad form vendors
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                        27 endorsement.” In addition, the Hartford Policy specifically obligates Hartford to defend
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                        28 and indemnify Home Depot as a vendor of Woodstream products.

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                         1         13.    On or about May 12, 2017, Home Depot tendered its defense of the Angle
                         2 Lawsuit to Woodstream and Hartford. The tender to Hartford was based on Home
                         3 Depot’s status as an additional insured under Hartford’s policy issues to Woodstream. At
                         4 that time, Home Depot advised Hartford that there was a mediation of the Angle Lawsuit
                         5 scheduled for May 22, 2017 and that trial was at that time scheduled for May 26, 2017.
                         6         14.    On or about May 18, 2017, Home Depot tendered its defense of the Angle
                         7 Lawsuit to AIG as an additional insured under the policy of excess insurance that it
                         8 issued to Woodstream. AIG issued a commercial umbrella liability policy to
                         9 Woodstream, policy number BE 013587699, with a policy period of 09/01/13 to 09/01/14
                        10 and with coverage limits of $25M per occurrence and in the aggregate (hereinafter the
                        11 “AIG Policy”). A Certificate of Insurance issued on October 16, 2013 reflected that
                        12 Home Depot was an additional insured under the AIG Policy and specifically that “Home
                        13 Depot USA, Inc., its affiliates and subsidiaries are named additional insured with respects
                        14 [sic.] to the General Liability under broad form vendors endorsement.” In addition, the
                        15 AIG Policy provides that Home Depot is an Insured as a vendor of Woodstream products.
                        16         15.    In the May 18, 2017 tender letter to AIG, Home Depot advised AIG that
                        17 there was a mediation of the Angle Lawsuit scheduled for May 22, 2017 and that trial
                        18 was at that time scheduled for May 26, 2017. On May 19, 2017, Christine Smith of AIG
                        19 contacted counsel for Home Depot and by email and letter acknowledged receipt of the
                        20 tender of defense of the Angle Lawsuit and advised Home Depot that Ms. Smith would
                        21 be attending the mediation scheduled for May 22, 2017.
                        22         16. On or about May 18, 2017, Richard Abramson, who was employed by
                        23 Sedgwick Claims Management Services, Inc. and at all relevant times was acting as an
                        24 agent for Hartford, emailed counsel for Home Depot advising Home Depot that he was
                        25 the claims handler for this Angle Lawsuit under the Hartford Policy and requesting
 Goodman
  Neuman                26 certain information, including defense counsel status reports. Subsequent to that email,
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                        27 counsel for Home Depot called Mr. Abramson and advised him that he could not be sent
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                        28 defense counsel status reports and evaluations until Hartford acknowledged an obligation

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                         1 to defend Home Depot with respect to the Angle Lawsuit as those documents were
                         2 protected by the attorney-client and attorney work product privileges. Approximately 4
                         3 hours later, Mr. Abramson again emailed counsel for Home Depot stating that “Twin
                         4 City Fire Insurance Company has advised me they are accepting Home Depots [sic.]
                         5 defense and indemnity without any reservation.” In reliance on this statement by Mr.
                         6 Abramson, counsel for Home Depot promptly emailed Mr. Abramson all the documents
                         7 he requested, including defense counsel’s privileged report and evaluation.
                         8         17.    On or about May 22, 2017, Caylene Frechette of Hartford emailed counsel
                         9 for Home Depot and reported that she and Richard Abramson spoke with defense counsel
                        10 representing Home Depot in the Angle Lawsuit and that Mr. Abramson would be
                        11 attending the mediation on behalf of Hartford scheduled for later that same day.
                        12         18.     Both Hartford and AIG attended the mediation of the Angle Lawsuit on
                        13 May 22, 2017.
                        14         19.    On or about May 23, 2017 and again on or about May 24, 2017 Home
                        15 Depot demanded in writing that Hartford and AIG agree to the proposal to settle the
                        16 Angle Lawsuit rather than to allow the case to go to trial which would “likely result in a
                        17 verdict for Plaintiff [Angle] and a judgment that could easily exceed the … settlement
                        18 proposal.” At that time, Angle’s settlement proposal was for an amount that was in excess
                        19 of Hartford’s primary limits of $1M but well within the combined policy limits of
                        20 Hartford and AIG.
                        21         20.    On or about May 25, 2017, Hartford denied Home Depot’s tender of
                        22 defense, without even mentioning that it had already agreed to defend and indemnify
                        23 Home Depot in the Angle Lawsuit “without any reservation.” In its May 25, 2017 letter,
                        24 Hartford for the first time raised policy exclusions, purported contractual obligations
                        25 between Home Depot and Woodstream, and the timing of Home Depot’s tender to
 Goodman
  Neuman                26 Hartford and denied even a duty to defend Home Depot. This denial was based on one
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                        27 theory of what may have happened that caused Angle’s injuries and ignored other
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                        28 theories. Specifically, Hartford stated that: “Based on the allegations in the [Angle]

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                         1 Lawsuit, the Plaintiff is seeking damages as a result of bodily injury that he sustained
                         2 from a rat trap that was allegedly returned to Home Depot by a prior customer and placed
                         3 back on to the shelf with the batteries still in the product. Since these allegations fall
                         4 within exclusionary language cited above, please be advised that Home Depot does not
                         5 qualify as an additional insured on the Policy and, accordingly, The Hartford has no
                         6 obligation to defend or indemnify Home Depot in the [Angle] Lawsuit.”
                         7 Notwithstanding these statements and its refusal to defend Home Depot, Hartford agreed
                         8 to contribute its policy limits towards settlement conditioned on “a full and final release
                         9 of any and all claims or potential claims that may arise against Woodstream in connection
                        10 with the [Angle] Lawsuit.”
                        11         21.     On or about May 26, 2017, Angle made a written settlement demand to
                        12 Home Depot in the same amount as the prior settlement proposal, which was an amount
                        13 that was in excess of Hartford’s primary limits of $1M but well within the combined
                        14 policy limits of Hartford and AIG. This settlement demand was communicated to
                        15 Hartford and to AIG on or about May 26, 2017.
                        16         22.     On or about May 26, 2017 AIG wrote to Home Depot and refused to agree
                        17 to make any contribution towards the settlement of the Angle Lawsuit. AIG cited the
                        18 timing of Home Depot’s tender to AIG and Hartford’s conclusion that Home Depot did
                        19 not qualify as an Additional Insured under the Hartford Policy. Specifically, AIG stated:
                        20 “To the extent Home Depot is not an insured under the Hartford/Twin City Policy, Home
                        21 Depot would not be an additional insured under the National Union Policy.”
                        22         23.     On or about June 5, 2017, Home Depot wrote to AIG responding to the
                        23 questions and issues it raised in its May 26, 2017 letter and reiterating Home Depot’s
                        24 demand that AIG agree to the settlement demand, which would require a payment by
                        25 AIG of an amount well within its policy limits. By this time, trial of the Angle Lawsuit
 Goodman
  Neuman                26 had been continued to July 14, 2017. In that letter, Home Depot specifically responded to
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                        27 the “late tender” argument raised by AIG by citing case law, including the case of Belz v
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                        28 Clarendon America Ins. Co. (2007) 158 Cal. App. 4th 615 in which a carrier was

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                         1 obligated to pay a default judgment, even though it had been deprived of any ability to
                         2 investigate or defend the underlying lawsuit. The court stated: “We conclude that where
                         3 a default judgment results from a lack of notice by the insured, (1) the insurer is liable on
                         4 the judgment unless it suffered actual, substantial prejudice, and (2) the mere inability to
                         5 investigate the claim thoroughly or to present a defense in the underlying suit does not
                         6 satisfy the prejudice requirement.” (Id. at 620). Home Depot also cited Billington v.
                         7 Interinsurance Exchange (1969) 71 Cal.2d 728, 737 in which the California Supreme
                         8 Court held that “an insurer, in order to establish it was prejudiced by the failure of the
                         9 insured to cooperate in his defense, must establish at the very least that if the cooperation
                        10 clause had not been breached there was a substantial likelihood the trier of fact would
                        11 have found in the insured's favor.”
                        12         24.    On or about June 20, 2017 AIG stated in writing to Home Depot that its
                        13 policy defines “Insured” as “any person or organization, other than the Named Insured,
                        14 included as an additional insured under Scheduled Underlying Insurance, but not for
                        15 broader coverage than would be afforded by such Scheduled Underlying Insurance.”
                        16 AIG then confirmed that “Home Depot qualifies as an additional insured vendor under
                        17 the Hartford policy.” Notwithstanding these conclusions, AIG continued to refuse to fund
                        18 any portion of the settlement of the Angle Lawsuit.
                        19         25.    On or about July 12, 2017, trial of the Angle Lawsuit was continued from
                        20 July 14, 2017 to September 1, 2017.
                        21         26.    In or around early to mid-August of 2017, Home Depot discussed with
                        22 Hartford and AIG a proposal to submit the Angle Lawsuit to binding arbitration with a
                        23 high-low stipulation such that any arbitration award above the high limit would be
                        24 reduced to the high limit and any award below the low limit would be increased to the
                        25 low limit. Neither Hartford nor AIG raised any objections to this proposal and on or
 Goodman
  Neuman                26 about August 18, 2017, AIG stated that it “does not object to Home Depot’s defense
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                        27 counsel making a high-low offer to plaintiffs.”
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                        28         27.    On or about August 31, 2017 Home Depot and Angle entered into a

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                         1 Stipulation for Arbitration. Under the terms of this stipulation, the Angle Lawsuit would
                         2 be submitted to binding arbitration with a high-low stipulation, such that if the
                         3 arbitrator’s award was more than agreed upon high amount the award would be reduced
                         4 to the agreed upon high amount and if it was less than the agreed upon low amount it
                         5 would be increased to the agreed upon low amount. Home Depot advised Hartford and
                         6 AIG of this stipulation on or about September 8, 2017.
                         7         28.    The Angle Lawsuit was submitted to binding arbitration and on or about
                         8 November 14, 2017 the arbitrator rendered an award in favor of Angle and against Home
                         9 Depot in the amount that exceeded the agreed upon high amount. The arbitrator
                        10 expressly found that the Victor Rat Trap failed to perform as safely as an ordinary
                        11 consumer would have expected when used or misused in an intended or reasonably
                        12 foreseeable way; that the Victor Rat Trap’s design outweighed the benefits of that design;
                        13 and that the Victor Rat Trap’s design was a substantial factor in causing harm to Plaintiff
                        14 Angle. Pursuant to the terms of the Stipulation for Arbitration entered into between Angle
                        15 and Home Depot, this award was reduced to the agreed upon high amount.
                        16         29.    On or about November 21, 2017, Home Depot provided the Arbitration
                        17 Award to Hartford and AIG and demanded that they fund the payment of this Arbitration
                        18 award, which was an amount in excess of Hartford’s primary limits of $1M but well
                        19 within the combined policy limits of Hartford and AIG and also all post-tender fees and
                        20 costs incurred in defending the Angle Lawsuit. Home Depot asked that Hartford and AIG
                        21 confirm by December 1, 2017 that they will pay these amounts.
                        22         30.    On or about November 30, 2017 AIG wrote to Home Depot and stated that
                        23 AIG was “not obligated to indemnify Home Depot for any amount of the Arbitration
                        24 Award” and that AIG “denies Home Depot’s request for coverage under the National
                        25 Union [AIG] Policy issued to Woodstream Corporation.”
 Goodman
  Neuman                26         31.    Home Depot paid the arbitration award to Angle on or about December 6,
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                        27 2017.
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                        28         32.    On or about December 13, 2017, Hartford reiterated its position that Home

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                         1 Depot did not qualify as an Additional Insured with respect to the Angle Lawsuit and that
                         2 Hartford had no obligation to defend or indemnify Home Depot with respect to that
                         3 lawsuit. Hartford renewed its offer to pay its policy limits towards a settlement of the
                         4 Angle Lawsuit conditioned upon “a full and final release of all claims or potential claims
                         5 that may arise against Woodstream in connection with the [Angle] Lawsuit.”
                         6         33.    To date both Hartford and AIG have refused to defend or indemnify Home
                         7 Depot with respect to the Angle Lawsuit and have refused to pay the Arbitration Award
                         8 rendered in the Angle Lawsuit.
                         9                                FIRST CAUSE OF ACTION
                                                              (Declaratory Relief)
                        10
                        11         34.    Home Depot hereby incorporates by reference paragraphs 1 through 33 of
                        12 this Complaint as if fully set forth herein.
                        13         35.    Home Depot qualifies as an Additional Insured or as an Insured under both
                        14 the Hartford Policy and the AIG Policy with respect to the Angle Lawsuit. The Angle
                        15 Lawsuit includes claims against Home Depot based on defects in the design of the Victor
                        16 Rat Trap provided to Home Depot by Woodstream pursuant to an agreement that
                        17 required Woodstream to have Home Depot named as an Additional Insured under all its
                        18 liability insurance policies. Woodstream did have Home Depot named as an Additional
                        19 Insured under both the Hartford Policy and the AIG Policy.
                        20         36.    The Angle Lawsuit involved an injury to Angle caused by an allegedly
                        21 defective Woodstream product that occurred during the policy periods of both the
                        22 Hartford Policy and the AIG Policy. In rendering an arbitration award in favor of Angle,
                        23 the Arbitrator expressly found that the Victor Rat Trap failed to perform as safely as an
                        24 ordinary consumer would have expected when used or misused in an intended or
                        25 reasonably foreseeable way; that the Victor Rat Trap’s design outweighed the benefits of
 Goodman
  Neuman                26 that design; and that the Victor Rat Trap’s design was a substantial factor in causing harm
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                        27 to Plaintiff Angle.
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                        28         37.    Hartford and AIG have not and cannot establish that any delay in tendering

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                        1 the defense of the Angle Lawsuit caused them to suffer actual and substantial prejudice,
                        2 rather than merely the inability to investigate the Angle Lawsuit thoroughly or to present
                        3 a defense in that action or that there is a substantial likelihood the trier of fact would have
                        4 found in the Home Depot’s favor in the Angle Lawsuit had the tender to Hartford and
                        5 AIG been made earlier.
                        6         38.     Furthermore, Hartford and AIG cannot avail themselves of a defense to
                        7 coverage based on a late tender or breach of the cooperation clause argument, as Hartford
                        8 has stated that Home Depot would not have been covered for the Angle Lawsuit even had
                        9 the tender been timely made.
                       10         39.     Hartford is also estopped to raise any coverage defenses based on its
                       11 unconditional acceptance of the obligation to defend and indemnify Home Depot
                       12 “without reservation” based upon which Home Depot provided Hartford with documents
                       13 protected by the attorney-client and attorney work product privileges.
                       14         40.     The other policy exclusions raised by Hartford and AIG, including the
                       15 repackaging exclusion, do not and cannot apply to defeat coverage for Home Depot under
                       16 their polices because there was no repackaging, the terms of the exclusion do not apply to
                       17 the Angle Lawsuit and even it this exclusion applied, there is a concurrent covered cause.
                       18         41.     Home Depot had a reasonable expectation of coverage under both the
                       19 Hartford Policy and the AIG Policy for the Angle Lawsuit.
                       20         42.     A genuine dispute and controversy exists between Home Depot and
                       21 Defendant insurers regarding whether their polices provide coverage for the Angle
                       22 Lawsuit.
                       23         WHEREFORE, Home Depot prays for judgment as set forth below.
                       24                               SECOND CAUSE OF ACTION
                       25                                   (Breach of Contract)
 Goodman
  Neuman               26         43.     Home Depot hereby incorporates by reference paragraphs 1 through 42 of
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                       27 this Complaint as if fully set forth herein.
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                       28         44.     Under the Hartford Policy, Hartford had a duty to defend and indemnify

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                                                                    COMPLAINT
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                        1 Home Depot with respect to the Angle Lawsuit.
                        2         45.    Under the AIG Policy, AIG had a duty to indemnify Home Depot with
                        3 respect to the Angle Lawsuit.
                        4         46.    In breach of their contractual obligations owed to Home Depot under their
                        5 policies, Hartford and AIG have refused to defend or indemnify Home Depot with
                        6 respect to the Angle Lawsuit and have refused to pay the Arbitration award rendered in
                        7 that case, which was well within their combined policy limits.
                        8         47.     Home Depot has performed all of its obligations under both the Hartford
                        9 Policy and the AIG Policy.
                       10         48.    Home Depot has been damaged by Hartford’s breach of its insurance
                       11 contract to defend and indemnify Home Depot with respect to the Angle Lawsuit and by
                       12 AIG’s breach of its insurance contract to indemnify Home Depot with respect to the
                       13 Angle Lawsuit in an amount which greatly exceeds the jurisdictional minimum of this
                       14 court ($75,000).
                       15         WHEREFORE, Home Depot prays for judgment as set forth below.
                       16                                   THIRD CAUSE OF ACTION
                       17                                          (Bad Faith)

                       18         49.    Home Depot hereby incorporates by reference paragraphs 1 through 48 of
                       19 this Complaint as if fully set forth herein.
                       20         50.    Both the Hartford Policy and the AIG Policy contained an implied covenant
                       21 of good faith and fair dealing.
                       22         51.    In refusing to defend or indemnify Home Depot with respect to the Angle
                       23 Lawsuit, as alleged above, Hartford acted in bad faith and breached its covenant of good
                       24 faith and fair dealing.
                       25         52.    Specifically, Hartford unconditionally accepted its obligation to defend and
 Goodman
  Neuman               26 indemnify Home Depot with respect to the Angle Lawsuit “without reservation” in order
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                       27 to obtain confidential and privileged documents. After agreeing to defend and indemnify
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                       28 Home Depot “without reservation” and being provided with the confidential and

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                                                                   COMPLAINT
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                        1 privileged documents it requested, and after speaking with defense counsel as a
                        2 defending carrier, Hartford then, in bad faith and in breach of its covenant of good faith
                        3 and fair dealing, declined to defend or indemnify Home Depot with respect to the Angle
                        4 Lawsuit. In addition, Hartford purported to rely on vague, ambiguous and inapplicable
                        5 policy defenses to deny coverage to Home Depot. Hartford’s conduct was undertaken in
                        6 bad faith and in breach of the covenant of good faith and fair dealing, with knowledge
                        7 that it would injure Home Depot, and in conscious disregard of the rights of Home Depot,
                        8 all of which constitutes malice and warrants an award of punitive damages.
                        9         53.      In refusing to indemnify Home Depot with respect to the Angle Lawsuit, as
                       10 alleged above, AIG acted in bad faith and breached its covenant of good faith and fair
                       11 dealing.
                       12         54.      Specifically, AIG refused to indemnify Home Depot with respect to the
                       13 Angle Lawsuit by relying on vague, ambiguous and inapplicable policy defenses to deny
                       14 coverage to Home Depot. AIG’s conduct was undertaken in bad faith and in breach of
                       15 the covenant of good faith and fair dealing and with knowledge that it would injure Home
                       16 Depot, and in conscious disregard of the rights of Home Depot, all of which constitutes
                       17 malice and warrants an award of punitive damages.
                       18         55.      Home Depot has been damaged by Hartford’s bad faith denial of its
                       19 obligation to defend and indemnify Home Depot with respect to the Angle Lawsuit and
                       20 by AIG’s bad faith denial of its obligation to indemnify Home Depot with respect to the
                       21 Angle Lawsuit in an amount which greatly exceeds the jurisdictional minimum of this
                       22 court ($75,000).
                       23         WHEREFORE, Home Depot prays for judgment as set forth below.
                       24                                           PRAYER
                       25         WHEREFORE, HOME DEPOT U.S.A., INC. prays for judgment as follows:
 Goodman
  Neuman               26         As to the First Cause of Action for Declaratory Relief:
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                       27         1. For a declaration that Hartford is and was obligated to defend and indemnify
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                       28               Home Depot with respect to the Angle Lawsuit.

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                                                                   COMPLAINT
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                        1       2. For a declaration that AIG is and was obligated to indemnify Home Depot with
                        2          respect to the Angle Lawsuit.
                        3       As to the Second Cause of Action for Breach of Contract:
                        4       3. For an award against Hartford in the amount of the defense fees and costs
                        5          incurred by Home Depot to defend the Angle Lawsuit plus the amount of the
                        6          Arbitration Award in the Angle Lawsuit paid by Home Depot.
                        7       4. For an award against Hartford and AIG in the amount of the Arbitration Award
                        8          in the Angle Lawsuit paid by Home Depot.
                        9       As to the Third Cause of Action for Bad Faith:
                       10       5. For an award against Hartford in the amount of the defense fees and costs
                       11          incurred by Home Depot to defend the Angle Lawsuit.
                       12       6. For an award against Hartford and AIG in the amount of the Arbitration Award
                       13          in the Angle Lawsuit paid by Home Depot.
                       14       7. For an Award against both Hartford and AIG in the amount of the attorneys’
                       15          fees and costs incurred in this action to obtain policy benefits wrongfully
                       16          withheld. (See Brandt v. Superior Court (1985) 37 Cal. 3d 813.)
                       17       8. For punitive damages against both Hartford and AIG.
                       18       On all Causes of Action:
                       19       9. For an award against both Hartford and AIG of prejudgment interest on all
                       20          amounts awarded that are subject to prejudgment interest.
                       21       10. For costs of suit incurred herein
                       22       11. For such other and further relief as the court may deem just and proper.
                       23 DATED: April 10, 2018                     GOODMAN NEUMAN HAMILTON LLP
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                                                                    By:
                       25                                                 /s/ Joshua S. Goodman
 Goodman                                                                  JOSHUA S. GOODMAN
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                                                                 COMPLAINT
